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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 BETHRAN MBAGWU
 Plaintiff
                                                                  CIVIL ACTION NO.
           v.                                                     2:21-cv-01470-MMB

 PPA TAXI & LIMOUSINE DIVISION
 Defendant


                  ORDER RE MOTION TO DISMISS AMENDED COMPLAINT

         AND NOW, this 15th day of October 2021, upon consideration of Plaintiff’s Second

Amended Complaint (ECF 1–4), Defendant’s Motion to Dismiss Plaintiff’s Second Amended

Complaint, (ECF 6), Plaintiff’s Response in Opposition, (ECF 13), and Defendant’s Reply,

(ECF14), and for the reasons stated in the foregoing Memorandum, it is hereby ORDERED that

Defendant’s Motion is GRANTED and Plaintiff’s Second Amended Complaint is DISMISSED

without prejudice. Plaintiff may file a third amended complaint within fourteen (14) days of this

Order.



                                                                   BY THE COURT:

                                                                   /s/ MICHAEL M. BAYLSON

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                                                                   MICHAEL M. BAYLSON
                                                                   United States District Judge


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